
92 N.Y.2d 939 (1998)
In the Matter of Michael Howell, Appellant,
v.
Glenn Goord, as Commissioner of the Department of the New York State Correctional Services, Respondent.
Court of Appeals of the State of New York.
Submitted October 13, 1998
Decided October 20, 1998.
Appeal, insofar as taken from that portion of the Appellate Division order that denied appellant's motion to amend his petition, dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; appeal otherwise dismissed, without costs, by the Court of Appeals, sua sponte, upon the ground that no substantial constitutional question is directly involved.
